           Case 21-32351 Document 964 Filed in TXSB on 12/20/21 Page 1 of 4




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    IN RE:                                                             CHAPTER 11

    LIMETREE BAY SERVICES, LLC, et al.,1                               CASE NO.: 21-32351

             Debtors.                                                  (Jointly Administered)


                             AGENDA FOR SALE HEARING
                     ON DECEMBER 21, 2021 AT 10:00 A.M. CENTRAL TIME

      I.      MATTERS SET FOR HEARING

              (1) Debtors’ Emergency Motion for Entry of Order: (I) Establishing Bidding and
                  Sale Procedures; (II) Approving the Sale of Assets; and (III) Granting Related
                  Relief and Debtors’ Emergency Notices of Sale Hearing (Doc. No. 191) (the
                  “Sale Motion”)

                   Responses:

                        •    Limited Objection by the United States to Sale of Assets (Doc. No. 950)
                        •    Supplemental Objection and Reservation of Rights of SAP America, Inc. to
                             the Debtors’ Motion to Sell Substantially All of their Assets (Doc. No. 951)
                        •    Official Committee of Unsecured Creditors’ Statement Regarding Sale of
                             Debtors’ Assets (Doc. No. 954)
                        •    Objection to, Request to Adjourn Hearing on, and Reservation of Rights of
                             St. Croix Energy, LLLP to Debtors’ Motion for Entry of an Order
                             Approving the Sale of Substantially All of the Debtors’ Assets Free and
                             Clear of All Claim, Liens, Liabilities, Rights, Interests, and Encumbrances
                             (Doc. No. 957)

                   Responses From Continued December 7, 2021 Hearing:

                        •    Limited Objection by the United States to Entry of Order (i) Establishing
                             Bidding and Sale Procedures; (ii) Approving the Sale of Assets; and (iii)
                             Granting Related Relief (Doc. No. 330)
                        •    Bay, Ltd.’s Preliminary Objection to the Proposed Sale to St. Croix Energy,
                             LLLP and Emergency Motion to Delany the December 7 Sale Hearing to
                             Permit Limited Discovery (Doc. No. 835)

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC.(1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.
      Case 21-32351 Document 964 Filed in TXSB on 12/20/21 Page 2 of 4




              •   Limited Objection and Reservation of Rights of Certain Texas Taxing
                  Entities to the Debtors’ Emergency Motion to (I) Establish [sic] Bidding
                  and Sale Procedures; (II) Approving [sic] the Sale of Assets; and (III)
                  Granting [sic] Related Relief, Motion for Sale of All or Substantially All
                  Assets Free and Clear of Liens as Described in Section 363(F) (Doc. No.
                  838)
              •   HKA Enterprises, LLC’s Limited Objection and Reservation of Rights to
                  Sale (Doc. No. 851)
              •   Limited Objection and Reservation of Rights of SAP America, Inc. and
                  Concur Technologies, Inc. to the Debtors’ Motion to Sell Substantially All
                  of their Assets (Doc. No. 863)
              •   Intertek USA Inc.’s Limited Objection and Reservation of Rights to Sale
                  (Doc. No. 867)
              •   Objection of Harris County to Debtors’ Motion for Entry of Order
                  Approving the Sale of Assets (Doc. No. 869)
              •   Limited Objection of Axens North America, Inc. to Sale of Debtors’ Assets
                  and Reservation of Rights (Doc. 874)
              •   The Terminal Entities’ Limited Objection and Reservation of Rights to
                  Debtors’ Emergency Motion for Entry of Order: (I) Establishing Bidding
                  and Sale Procedures; (II) Approving the Sale of Assets; and (III) Granting
                  Related Relief (Doc. No. 875)


           Related Documents:

              •   Notice of Designation of Winning Bid and Back-up Bid (Doc. No. 948)

           Status: This matter is going forward.


II.    WITNESS AND EXHIBIT LISTS

              •   DIP Lender’s Witness and Exhibit List (Doc. No. 933)
              •   Bay, Ltd.’s Supplemental Witness and Exhibit List (Doc. No. 938)
              •   Ad Hoc Term Lender Group’s Witness and Exhibit List (Doc. No. 939)
              •   The Terminal Entities’ Witness and Exhibit List (Doc. No. 941)
              •   the Official Committee of Unsecured Creditors’ Witness and Exhibit List
                  (Doc. No. 942)
              •   Debtors’ Witness and Exhibit List (Doc. No. 949)
              •   St. Croix Energy, LLLP’s Witness and Exhibit List (Doc. No. 958)

           Witness and Exhibit Lists From Continued December 7, 2021 Hearing:

              •   Bay, Ltd.’s Witness and Exhibit List (Doc. No. 846)
              •   Axens North America, Inc.’s Witness and Exhibit List (Doc. No. 876)


                                           2
           Case 21-32351 Document 964 Filed in TXSB on 12/20/21 Page 3 of 4




    III      HEARING INSTRUCTIONS

           PLEASE TAKE NOTICE that audio communication will be by use of the Court’s dial-

in facility. You may access the facility at 832-917-1510. Once connected, you will be asked to

enter the conference room number. Judge Jones’s conference room number is 205691. Video

communication will be by use of the GoToMeeting platform. Connect via the free GoToMeeting

application or click the link on Judge Jones’s home page. The meeting code is “JudgeJones”. Click

the settings icon in the upper right corner and enter your name under the personal information

setting.

           PLEASE TAKE FURTHER NOTICE that hearing appearances must be made

electronically in advance of both electronic and in-person hearings. To make your appearance,

click the “Electronic Appearance” link on Judge Jones’s home page. Select the case name,

complete the required fields and click “Submit” to complete your appearance.

           PLEASE TAKE FURTHER NOTICE that a copy of the above-referenced documents

may be obtained through the Bankruptcy Court’s electronic case filing system at

https://ecf.txsb.uscourts.gov or can be obtained free of charge on the website maintained by the

Debtors’ claims and noticing agent at www.bmcgroup.com/limetree.



                            [remainder of page intentionally left blank]




                                                 3
       Case 21-32351 Document 964 Filed in TXSB on 12/20/21 Page 4 of 4




       Respectfully submitted this 20th day of December 2021.

                                                   BAKER & HOSTETLER LLP

                                                   /s/ Elizabeth A. Green
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                                                   (Admitted Pro Hac Vice)

                                                   Counsel for the Debtors and Debtors in
                                                   Possession




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 20, 2021, a true copy of the forgoing was filed
with the Court using the CM/ECF System, which will provide notice of such filing to all parties
requesting such notice.

                                                   /s/ Elizabeth A. Green
                                                   Elizabeth A. Green
